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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND


Chambers of                                                        U.S.Courthouse - Chambers 5D
Richard D. Bennett                                                 101 W. Lombard Street
United States District Judge                                       Baltimore, MD 21201
Northern Division                                                  Tel: 410-962-3190
                                                                   Fax: 410-962-3177
                                      September 9, 2022

                                       LETTER ORDER

TO: COUNSEL OF RECORD

       RE:     USA v. Benjamin Paz
               Criminal No. RDB-21-0163

Dear Counsel:

       This will confirm that the Scheduling Order is REVISED as follows:



       Motions Hearing/Pretrial Conference          September 19, 2022, at 11:00 a.m.



       Although informal in format, this letter nonetheless constitutes an Order of Court

and the Clerk is directed to docket it as such.


                                    Sincerely,

                                      /s/

                                    Richard D. Bennett
                                    United States District Judge
